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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI
____________________________________
                                     )
STATE OF MISSOURI, et al.,           )
                                     )
                  Plaintiffs,        )
                                     )
            v.                       )  Civil Action No. 4:21-cv-1329
                                     )
JOSEPH R. BIDEN, JR., et al.,        )
                                     )
                  Defendants.        )
____________________________________)

               DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT
       Pursuant the Court’s Order of October 13, 2022, ECF No. 65, Defendants respectfully move

the Court to dismiss Plaintiffs’ Complaint, ECF No. 1. The basis for Defendants’ motion is set forth

in the attached Memorandum.




Dated: November 2, 2022                              Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     MICHELLE R. BENNETT
                                                     Assistant Branch Director
                                                     Federal Programs Branch

                                                     /s/ Michael Drezner
                                                     MICHAEL L. DREZNER
                                                     Bar No. 83836(VA)
                                                     Trial Attorney

                                                     JULIE STRAUS HARRIS
                                                     Bar No. 1021298(DC)
                                                     Senior Trial Counsel

                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street NW
                                                     Washington, DC 20530
                                                     Tel: (202) 514-4505




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                                          Fax: (202) 616-8470
                                          Email: Michael.L.Drezner@usdoj.gov

                                          Attorneys for Defendants




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